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AO 88 (Rev. 11/94) Subpoena in a Civil Case
Issued by the
United States District Court
EASTERN DISTRICT OF LOUISIANA
SUBPOENA IN A CIVIL CASE

IN RE: FEMA TRAILER FORMALDEHYDE

PRODUCT LIABILITY LITIGATION,

NO, 07-MD-1873 (USDC, Eastern District of
Louisiana Suit No. 09-3871)

Applies to: Nunnery v. Keystone Industries,

Inc., No. 09-3871

To: Custodian of Records for J.P. Morgan Chase Bank,
NLA.
Care of C T Corporation System
5615 Corporate Blvd, Suite 400 B
Baton Rouge, 70808

Oo YOU ARE COMMANDED to appear in the United States District Court at the place, date, and time
specified below to testify in the above case.

PLACE OF TESTIMONY COURTROOM

DATE AND TIME

YOU ARE COMMANDED to appear at the place, date and time specified below to testify at the taking of a deposition in
the above cause:

PLACE OF DEPOSITION DATE AND TIME

YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place, date, and time specified below (list documents or objects):
SEE EXHIBIT “A"

PLACE DATE AND TIME

Jones Walker Law Firm,

8555 United Plaza Boulevard, 5 Floor March, 15, 2010

Baton Rouge, LA 70809 {n'oo A. 4.

D YOU ARE COMMANDED to permit inspection of the following remises at the date and time specified below.
PREMISES: DATE AND TIME:

Any organization not a party to this suit that is subpoenaed for the taking of deposition shall designate one or
more officers, directors, or managing agents, or other persons who consent to testify on its behalf, and may set
forth, for each person designated, the matters on which the porson will testify, Federal Rules of Civil Procedure

30(b)(6).

ISSUING OFFICER'S SIGNATURE AND TITLE DATE

yan. aa ee February 26, 2010
(lyon ¢ Attorney for Defendant
Keystone RV Company

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

TB SABsAOT) = i f PLAINTIFF’S

ae

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Ryan E. Jobnson Sl CBVORID 2015
Attorney for Defendant Keystone RV
Company
Jones Walker
8556 United Plaza Blvd.
Building IV, 6th Floor
Baton Rouge, LA 70803-7600
225-248-8000

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(Gos Rule 46, Federal Rules of Civil Procedure, Parts C & D on Reverso)

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Case RO77MHOTSKOE-ALON Document12670221 Filed 03/09/10 Page 3 ofS

PROOF OF SERVICE
SERVED Date Place
Subpoena for 02/26/2010 5615 Corporate Bivd, Suite 400 B
Deposition & Baton Rouge, 70808
Production of
Decuments
Served on (Print Name) Manner of Service

Custodian of Records for J.P. Morgan Chase Bank, N.A., care of Hand Delivery

C T Corporation System, Ine.
served by (Print Name) Title:
Courier

DECLARATION OF SERVER

1 Declare under penalty of perjury under the law of the United States of America that the forsgoing
information contained in tho Preof of Service is true and correct.

Executed on

Date Signature of Server

Address of Server

Rule 45, Fedora) Rules of Civil Procadure, Parts C & D

(c) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

(1) A party or an attorney responsible for the issuance and service of a subposna shall take
reasonable steps to avoid imposing undue burden or expense on a person subject to that subpoena, The court on
bebalf of which the subpoena was issued shall enforce this duty and impose upon the party or attorney in
breach of this duty an appropriate sanction, which may include, but is not imited to, lost earnings and a
reasonable attorney's fees.

(2) (A) A person commanded to produce and permit inspection and copying of designated books,
papers, documents or tangible things, or inspection of premises need not appear in person at the placa of
production or inspection unleas commanded to appear for deposition, hearing or trial,

(8) Subject to paragraph (d)(2) of this rule, a person commanded to produce and permit inspection
and copying may, within 14 days after service of the subpoana or before the time specified for compliance if such
time is loss than 14 days after service, serve upon the party or attorney designated in the subpoena written
objection to inspection or copying of any or all of the dosignated materials or of the promises. If objection ia
made, tho party serving the subpoona may, upon notice to the person commanded to produce, move at any time
for an order to compe) the production. Such an order to compel production shall protect any person who is not a
party or an officer of a party from significant expense resulting fom tho inspection and copying commanded.

(3) (A) On timely motion, the court by which a subpoana was issued shall quash or modify the
subpoena if it:

(i) fails to allow reasonable time for compliance:

(ii) requires a person who is not a party or an officer of a party to travel to a place more
than 100 miles from the place where that person resides, is employed or regularly transacts business in
person, except that, subject to the provisions of clause (c)(3)(B)(iii) of this rule, such a person may in
order to attend trial be commanded to travel from any such place within the state in which the trial ia
held, or

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(iii) requires disclosure or privileged or other protected matter and no exception or waiver
applies, or

(iv) aubjects a person to undus burden.
(8B) Ifa subpoena

@ requires disclosure of a trade secret or other confidential research, development, or
commercial information, or

(i) requires disclosure of an unretained expert's opinion or information not describing
specific events or cecurrences in dispute and resulting from the expert's study mado not at the request

of any party, or

Gil) requires a person who is not a party or an officer of a party to incur substantia) expense
to trave) mora than 100 miles to attend trial, the court may, to protect a person subject to or affected by
the subpoena, quash or modify the subpoena or, if the party in whose behalf the subpoona is issued
shows a substantial need for the testimony or material that cannot be otherwise mot without undue
hardship and assures that the person to whom the subpoena is addressed will be reasonably
compensated, the court may order appearance or production only upon specified conditions.

(@) DUTIES IN RESPONDING TO SUBPOENA.

{1} A person responding to a subpoena to produce documents shal) produce them as they are kept
in the usual course of business or shall organize and label them to correspond with the categoria iv the
demand.

(2) When information subject to a subpoona is withheld on a claim that it is privileged or subject
to protection as trial proparation materials, the claim shal] be made expressly and shall be supported by a
description of the nature of the documents, communications, or things not produced that is sufficient to enable
the demanding party to contest the claim

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EXHIBIT “A”

DEFINITIONS

A. “Documents” means the original and any non-identical copy of al]
“writings,” “recordings,” and “photographs” as those terms are defined in Rule 1001
of the Federal Rules of Evidence. Furthermore “documents” means any hand
written, printed, non-printed, typed, photocopied, photographic, reproduced and
graphic matter of any kind. This includes, but is not limited to, letters, telegrams,
cablegrams, telexes, e-mail messages, electronic bulletin board messages, calendars,
computer files, correspondence, deak pads, interim or tentative drafts, conversations
or communications, statements, computer files, information stored on computer
back up tapes, memoranda, hand written notes, electronic notes, records, reports,
studies, diaries, agenda, minutes, books, pamphlets, periodicals, newspaper
clippings, graphs, indices, charts, tabulations, statistical accumulations, ledgers,
financial statements, accounting entries, press releases, financial statements,
accounting entries, contracts, affidavits, transcripts, legal documents, records of
meetings and conferences, records of conversations and telephone calls, stil)
photographs, videotapes, motion pictures, tape recordings, microfilms, Punch cards,
computer programs, printouts, lie detector examination records, recordings made
through data processing techniques, photographs, videos, and the written
information necessary to understand and use such films and records.

B. <A document that is “pertaining to” any given subject means any
document that in whole or in part constitutes, contains, embodies, reflects,
identifies, states, refers to, deals with, or is in any way pertinent to that subject,
including without limitation, documents concerning the preparation of other
documents,

YOUR ARE COMMANDED TO PRODUCE THE FOLLOWING:

1, Any and all documents pertaining to all checking and/or savings
accounts (individual and joint), all investment accounts (CDs, IRAs, and any and al]
investment accounts), safety deposit accounts, and any credit cards, advances,
Joans, or mortgages extended, including, but not limited to, all applications,

